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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DlSTRICT OF TENNESSEE
WESTERN DIVISION

 

Unitecl Statcs of America,
Plaintiff, Civil No. 04-2658-B/P
v.
Thirty-Five Thousand F our l-lundred
Ninety~Nine Dollars ($35,499.00) in
U.S. Currency,

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held on May 26, 2005. Prcsenl were
Christopher E. Cotten, Assistant U.S. Attorney, counsel for plaintiff, and J ake E. Erwin, counsel for
claimants Nana Asantewaa, et al. At the conference, the following dates Were established as the final
dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ. P. 26(3)(1): Thursday, June 9, 2005
JOINING PARTIES: Monday, June 27, 2005
AM`ENDING PLEADINGS: Monday, June 27, 2005
INITIAL MOTIONS TO DISMISS: Wednesday, July 27, 2005
COMPLETING ALL DISCOVERY: Friday, August 26, 2005
(a) DOCUMENT PRODUCTION'. Friday, August 26, 2005

(b) DEPOSITIONS, INTERROGATORIES, AND REQUESTS FOR
ADMISSIONS: Friday, August 26, 2005

(c) EXPERT WITNEss DIsCLosURE (Rule 26): N/A

Thls document entered on the docket eet ln co?p!iance
with eula se and/or veta) FecP on - 1b

 

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FILING DISPOSITIVE MOTIONS'. Thursday, September 25, 2005
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filing that require a response must be filed sufficiently in advance
of the di scovery cutoff date to enable opposing counsel to respond by the time permitted by the Rules
prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or the service of the response, answer, or objection, Which is the subject of the
motion, if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the default, response, answer, or
objection shall be waived

Th.is case is set for non-jury trial, and the trial is expected to last one (l) day.
This case is not appropriate for ADR.

The parties are reminded that pursuant to Local Rule l l(a)(l )(A), all motions, except motions
pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this order will not be modified or extended

 

 

IT ls so oRDERED, this Q(»day cr M£¢~?)/ , 20054
m
TU M. PHAM

United States Magistrate Judge

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APPROVED:

TERRELL L. HARRIS
United States Attorney

By~. %“€(j/

ristopher E. Cotten
Assistant United States Attomey
Counsel for Plaintiff

(éa/e/l§. Erwin
ounsel for Claimants

Nana Asantewaa, et al

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 63 in
case 2:04-CV-02658 was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

Christopher E. Cotten

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Honorable .l. Breen
US DISTRICT COURT

